  Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 1 of 22 PageID #:7989



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


KEITH SNYDER and SUSAN
MANSANAREZ, individually and on behalf of
all others similarly situated,               CONSOLIDATED NO. 1:14-cv-08461

                   Plaintiffs,               Class Action
      v.
                                             Jury Trial Demand
OCWEN LOAN SERVICING, LLC,
                                             Honorable Matthew F. Kennelly
                   Defendant.

TRACEE A. BEECROFT,
                                             Case No.: 1:16−cv−08677
                   Plaintiff,

      v.

OCWEN LOAN SERVICING, LLC,

                   Defendant.



      PLAINTIFFS’ MOTION FOR APPROVAL OF FIRST AMENDMENT TO
                SETTLEMENT AGREEMENT AND RELEASE
      Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 2 of 22 PageID #:7990



                                                 TABLE OF CONTENTS
                                                                                                                                            Page

I.        INTRODUCTION                   ..................................................................................................... 1

II.       RELEVANT BACKGROUND ...................................................................................... 2

          A.        The prior settlement ............................................................................................ 2

          B.        The Court’s denial of final approval of the prior settlement .............................. 3

          C.        Mediation and the Amended Settlement Agreement .......................................... 3

III.      AUTHORITY AND ARGUMENT ................................................................................ 6

          A.        The Amended Settlement should be give final approval .................................... 6

                    1.         The Amended Settlement provides adequate relief in light of
                               the cost, risks and delay of continued litigation ...................................... 7

                    2.         The Amended Settlement treats Settlement Class
                               Members equitably.................................................................................. 9

                    3.         Plaintiffs and Class Counsel have adequately represented
                               the Settlement Class, had litigated sufficiently to understand the
                               case, and support the Amended Settlement .......................................... 10

                    4.         The Amended Settlement Agreement is the result of
                               arm’s-length negotiations...................................................................... 10

                    5.         The reduced attorneys’ fee request supports approval .......................... 11

                    6.         Settlement Class Members’ response supports approval ...................... 12

          B.        The Settlement Class should be finally certified .............................................. 13

          C.         No additional notice is necessary ..................................................................... 13

IV.       CONCLUSION ............................................................................................................. 14




                                                                    -i-
   Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 3 of 22 PageID #:7991



                                            TABLE OF AUTHORITIES

                                                                                                                            Page


Adams v. AllianceOne Receivables Mgmt., Inc.,
      No. 3:08-cv-00248-JAH-WVG, Dkt. No. 137 (S.D. Cal. Sept. 28, 2012) ..................... 9

Am. Int’l Grp., Inc. v. ACE INA Holdings, Inc.,
       No. 07 CV 2898, 2012 WL 651727 (N.D. Ill. Feb. 28, 2012 ....................................... 12

Estrada v. iYogi, Inc.,
       No. 2:13–01989 WBS CKD, 2015 WL 5895942 (E.D. Cal. Oct. 6, 2015) ................... 9

Freeman v. Berge,
      68 F. App’x 738 (7th Cir. 2003..................................................................................... 12

Gautreaux v. Pierce,
      690 F.2d 616 (7th Cir. 1982) ........................................................................................ 10

Garret, et al. v. Sharps Compliance, Inc.,
       No. 1:10-cv-04030, Dkt. No. 65 (N.D. Ill. Feb. 23, 2012) ............................................ 9

Gehrich v. Chase Bank USA, N.A.,
      316 F.R.D. 215 (N.D. Ill. 2016) ...................................................................................... 9

Hale v. State Farm Mut. Auto. Ins. Co.,
       No. 12-0660-DRH, 2018 WL 6606079 (S.D. Ill. Dec. 16, 2018) .................................. 8

In re Anthem, Inc. Data Breach Litig.,
       327 F.R.D. 299 (N.D. Cal. 2018) .................................................................................. 13

In re Baby Prods. Antitrust Litig.,
       708 F.3d 163, 175 n.10 (3d Cir. 2013). ....................................................................... 13

In re Capital One Tel. Consumer Prot. Act Litig.,
       80 F. Supp. 3d 781 (N.D. Ill. 2015) .......................................................................... 9, 11

In re Mexico Money Transfer Litig.,
       164 F. Supp. 2d 1002 (N.D. Ill. 2000) ...................................................................... 8, 12

In re Sw. Airlines Voucher Litig.,
       No. 11 C 8176, 2013 WL 4510197 (N.D. Ill. Aug. 26, 2013) ..................................... 12

In re Synthroid Mktg. Litig.,
        264 F.3d 712 (7th Cir. 2001) ....................................................................................... 11



                                                               - ii -
   Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 4 of 22 PageID #:7992



Isby v. Bayh,
        75 F.3d 1191 (7th Cir. 1996) .............................................................................. 8, 10, 12

Keepseagle v. Vilsack,
      102 F. Supp. 3d 306 (D.D.C. 2015) ............................................................................. 14

Kolinek v. Walgreen Co.,
       311 F.R.D. 483 (N.D. Ill. 2015) ..................................................................................... 9

Pearson v. NBTY, Inc.,
      772 F.3d 778 (7th Cir. 2014) ....................................................................................... 12

Pearson v. Target Corp.,
      893 F.3d 980 (7th Cir. 2018) ........................................................................................ 13

Redman v. RadioShack Corp.,
     768 F.3d 622 (7th Cir. 2014) ........................................................................................ 12

Rose v. Bank of Am. Corp.,
       Nos. 11 C 2390 & 12 C 4009, 2014 WL 4273358 (N.D. Cal. Aug. 29, 2014) .............. 9

Schulte v. Fifth Third Bank,
       805 F. Supp. 2d 560 (N.D. Ill. 2011) .............................................................................. 8

Smith v. Levine Leichtman,
       No. 10-cv-00010-JSW, 2014 WL 12641575 (N.D. Cal. Mar. 26, 2014 ....................... 14

Van Lith v. iHeartMedia + Entm’t, Inc.,
       No. 1:16-CV-00066-SKO, 2017 WL 4340337 (E.D. Cal. Sept. 29, 2017) .................... 8

Wong v. Accretive Health, Inc.,
      773 F.3d 859 (7th Cir. 2014) ......................................................................................... 6

                                                       FEDERAL RULES

Fed. R. Civ. P. 23(e)(2) ............................................................................................................... 7




                                                                   - iii -
  Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 5 of 22 PageID #:7993



                                      I. INTRODUCTION

       Following the Court’s September 28, 2018 order denying final approval of the parties’

previous Settlement Agreement, the parties returned to mediation. A full-day mediation with the

Honorable Morton Denlow (Ret.) resulted in an improved settlement for $21.5 million, updated

injunctive relief, and an exclusion of the banks from the release. Declaration of Beth E. Terrell in

Support of Approval of First Amendment to Settlement Agreement and Release (“Terrell

Decl.”), Exh. 1. Class Counsel have also reduced their fee request by $500,000 in order to

increase the amount of money available to class members.

       Plaintiffs respectfully request that the Court approve this Amended Settlement, which

will provide per-claim awards ranging from $53.44 to $70.41. This range is conservative because

it assumes the Court approves Plaintiffs’ requested attorneys’ fees, costs, incentive awards, and

Epiq’s administrative fees before calculating the Settlement Fund available to be distributed. The

range is based on the final claims administration analysis that revealed several categories of

claims that if deemed valid by the Court will affect the per claim settlement award amount. Each

category and its impact if allowed is described in detail below, and in the O’Connor Declaration.

       Under any scenario, the new resolution is better than the original, and is adequate given

the risks of continued litigation the Court cited in its order denying final approval of the prior

settlement, including new law governing automatic telephone dialing systems and potentially

individualized issues relating to consent. The Amended Settlement will ensure that Settlement

Class Members are compensated now for the intrusive calls they received rather than waiting for

several additional years of litigation to potentially recover nothing at all.

       The additional factors that courts consider also support approval of the Amended

Settlement. The parties devoted sufficient time to motion practice and discovery before




                                                 -1-
     Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 6 of 22 PageID #:7994



negotiating the settlement to evaluate the strengths and weaknesses of their claims and defenses,

and Class Counsel, who have successfully litigated many TCPA cases, fully support the

settlement. Only three Settlement Class Members objected, while well over 200,000 filed claims.

Plaintiffs and Class Counsel have vigorously represented the interests of Settlement Class

Members throughout the litigation and the settlement process, and have ensured that Settlement

Class Members will be treated equitably relative to each other. Plaintiffs request that the Court

certify the settlement class for settlement purposes, overrule the objections, and approve the

settlement as fair, reasonable and adequate.

                              II. RELEVANT BACKGROUND

A.       The prior settlement.

         The parties previously negotiated a settlement requiring Ocwen to pay $17,500,000 into a

non-reversionary common fund for a class of persons called on 1,685,757 unique cellular

telephone numbers. Dkt. No. 252-1 § 4.5.1. The Settlement also includes injunctive relief

requiring Ocwen to alter its consent-gathering practices and to pay enhanced damages to people

who receive automated calls because of gaps in such practices. Id. § 4.2. In exchange, Settlement

Class Members would release their claims against Ocwen and the three banks Plaintiffs sued in a

separate case, U.S. Bank, Wilmington Trust, and Deutsche Bank (the “Banks”). Id. §§ 2.3.1,

10.1. The Court preliminarily approved the Settlement, conditionally certified the Settlement

Class, approved the notice plan, and scheduled a fairness hearing. Dkt. No. 266.

         In November 2017, the Settlement Administrator, Epiq, disseminated the Court-approved

notice by U.S. Mail and email and through a targeted internet banner ad campaign, reaching an

estimated 95.1% of the Settlement Class Members. Dkt. No. 317 ¶¶ 3-12, 25. The notice

documents estimated that Settlement Class Members who filed valid claims would receive




                                                -2-
     Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 7 of 22 PageID #:7995



payments of $60, which assumed a 10% claim rate. Dkt. No. 317, Exs. A & B. In reality, the

claim rate exceeded 10%. Dkt. No. 316 at 1, 15-17; Dkt. No. 317 ¶ 17. As a result, Settlement

Class Members were projected to receive payments of approximately $39 from the settlement

fund after deduction of the requested attorneys’ fees, litigation costs, service awards, and

settlement administration costs. Dkt. No. 334 at 4.

B.       The Court’s denial of final approval of the prior settlement.

         Following hearings on April 5 and 17, 2018, the Court denied final approval of the prior

Settlement on September 28, 2018. Dkt. No. 334. The Court found that Settlement Class

Members received the best notice practicable, that Plaintiffs and Class Counsel adequately

represented the class, that the settlement was negotiated at arm’s length, and that Settlement

Class Members were treated equitably. Dkt. No. 344 at 7-8. The Court recognized the challenges

presented by continued litigation, including new law governing automatic telephone dialing

systems, potentially individualized issues relating to consent, and Ocwen’s apparent inability to

pay a significant judgment. Id. at 8, 10-12. Nonetheless, the Court concluded that it did not have

adequate information about Ocwen’s financial condition and whether it was appropriate for

Settlement Class Members to release their claims against the Banks without any payment from

them. Id. at 12-13. The Court also questioned whether the estimated $39 payments to claimants

was appropriate in light of the risks of continued litigation. Id. at 13-14.

C.       Mediation and the Amended Settlement Agreement.

         Following the September 28 Order, Ocwen and Plaintiffs advised the Court they intended

to return to mediation. Dkt. No. 336. The Banks also agreed to participate. Id. On November 13,

2018, Class Counsel, Ocwen, and the Banks engaged in an in-person mediation with the

Honorable Morton Denlow (Ret.) in Chicago. Terrell Decl., Exh. 1 at 1. By the end of the day,




                                                 -3-
    Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 8 of 22 PageID #:7996



Class Counsel and Ocwen negotiated the terms of the Amended Settlement. Ocwen will pay a

total of $21,500,000, and is required to deposit $4,000,000 into escrow to supplement the

$17,500,000 Ocwen previously deposited with the Settlement Administrator. Terrell Decl., Exh.

1 ¶¶ 1-3. Ocwen has already implemented the injunctive relief contemplated by the parties in

Section 4.2 of the prior Settlement Agreement. Dkt. No. 252-1 § 4.2; Terrell Decl., Exh. 1 at 1,

Exh. 2. However, because of a transaction involving another mortgage servicer called PHH,

Ocwen is changing mortgage servicing database systems. The improved settlement ensures that

the original injunctive relief will be honored as Ocwen migrates its servicing platform from its

REALServicing to BlackKnight/MSP. Terrell Decl., Exh. 1 ¶ 4, Exh. 2.

        Heeding the Court’s comments with regard to their fee, Class Counsel have reduced their

fee request by $500,000, from $5,289,250 to $4,789,250. If the Court approves the requested

attorneys’ fee award, reimbursement of litigation costs of $96,380,1 $1,600,000 in notice and

administration costs,2 and the requested $75,000 in service awards, $14,939,370 will remain for

distribution to Settlement Class Members. How this amount is distributed will depend largely on

which categories of claims the Court determines are valid.

        The administrator received 212,165 complete and valid claim forms, which means they

were signed by the claimant and contained one cell phone number matching a cell phone number

on the Class List. Declaration of Michael O’Connor (“O’Connor Decl.”) ¶ 11. The administrator

also received 5,401 claims from individuals who included a cell number that matches the Class

1
  The notice stated that Class Counsel would seek up to $100,000 in costs. Counsel for Burke
Law Offices, LLC, Terrell Marshall Law Group PLLC, The Cabrera Firm, APC, and Heaney
Law Firm, LLC filed a motion seeking reimbursement of $66,780 in out-of-pocket expenses,
limited to expert costs. Dkt. No. 293 at 21. Mr. Ankcorn separately requested costs in the amount
of $35,600. Dkt. 296 No. at 1. Mr. Ankcorn later reduced his firm’s request to $29,600. Dkt. No.
325. Therefore, the total request for reimbursement by all firms is $96,380.
2
  Epiq capped the cost of notice and administration at $1,600,000 regardless of the claim rate.
Dkt. No. 317 ¶ 26.

                                               -4-
  Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 9 of 22 PageID #:7997



List but failed to sign the claim form, characterized as incomplete missing signature claims. Id. ¶

13. These claimants have been offered the opportunity to cure their signature deficiencies. Id. If

none of the incomplete forms are returned, the per claim award will be $70.41. Id. ¶ 12. If all

5,401 claimants respond and cure their signature deficiencies, the per claim award will be

$68.66. Id. ¶ 13.

       In addition, the notice instructed class members to submit one claim form per cell phone

number—up to three claims—but several thousand claimants included two or three Class List

cell phone numbers on a single paper claim form. O’Connor Decl. ¶ 14. In addition, a number of

claimants included two cell phone numbers on their electronic Claim Forms that matched back to

the Class List. Id. In total, 5,318 claimants included two numbers and 59 claimants included

three numbers. Id. If the Court approves these multiple cell claims, the total number of valid and

complete claims will increase by 5,436, and the per-claim award will be reduced to $66.99. Id.

Next, the administrator denied 52,709 claims which included phone numbers that do not match

phone numbers on the Class List. Id. ¶ 15. These denied claims could have been completed by

individuals who did not receive calls from Ocwen, but received notice because of outdated

information, or they may have been completed by individuals who received calls, but

erroneously included the wrong numbers on the claim form. Id. In the latter scenario, if the Court

provides claimants with the opportunity to cure the error, and all denied claims are later cured,

the per claim award would be reduced to $54.18. Id. Finally, there were 3,801 late claims. If the

Court also allows these late claims, the per claim payout will be $53.44. Id. ¶ 16.

       Although the Banks attended the mediation, Plaintiffs and the Banks did not reach a

resolution and are currently litigating. The Banks are not parties to the Amended Settlement




                                                -5-
 Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 10 of 22 PageID #:7998



Agreement, and the release in the amended settlement does not include the Banks. Plaintiffs’

separate litigation against the Banks will continue.

       The other terms of the Amended Settlement remain the same as the prior settlement.

                            III. AUTHORITY AND ARGUMENT

A.     The Amended Settlement should be given final approval.

       All the factors courts in this circuit consider when evaluating a proposed class action

settlement support approval of the terms of the Amended Settlement Agreement. Those factors

are: “(1) the strength of the case for plaintiffs on the merits, balanced against the extent of

settlement offer; (2) the complexity, length, and expense of further litigation; (3) the amount of

opposition to the settlement; (4) the reaction of members of the class to the settlement; (5) the

opinion of competent counsel; and (6) the stage of the proceedings and the amount of discovery

completed.” Wong v. Accretive Health, Inc., 773 F.3d 859, 863-64 (7th Cir. 2014) (citation

omitted). The first factor is the most important. Id. at 864. In addition, the recently amended Rule

23(e)(2) requires courts to consider whether:

       (A)     the class representatives and class counsel have adequately
               represented the class;

       (B)     the proposal was negotiated at arm’s length;

       (C)     the relief provided for the class is adequate, taking into account:

               (i)     the costs, risks, and delay of trial and appeal;

               (ii)    the effectiveness of any proposed method of distributing relief to the class,
                       including the method of processing class-member claims;

               (iii)   the terms of any proposed award of attorney’s fees, including timing of
                       payment; and

               (iv)    any agreement required to be identified under Rule 23(e)(3); and

       (D)     the proposal treats class members equitably relative to each other.




                                                 -6-
 Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 11 of 22 PageID #:7999



Fed. R. Civ. P. 23(e)(2) See also, Rossman, Stuart, As of December 1, New Rules Alter Class

Action Notices, Settlement, and Objections, (Dec. 10, 2018, Nat.Cons.Law.Ctr.) available at:

https://library.nclc.org/december-1-new-rules-alter-class-action-notices-settlements-and-

objections

       1.      The Amended Settlement provides adequate relief in light of the cost, risks and
               delay of continued litigation.

       The Amended Settlement increases the settlement fund to $21.5 million. Settlement Class

Members filed 212,165 complete and valid claims, and 5,401 additional valid claims that will be

complete if they return their signatures. If all 5,401 claimants return their signatures, Settlement

Class Members will receive $68.66 per claim. If the Court also permits multiple cell claims,

denied claims, and late claims, Settlement Class Members will receive between $66.99 and

$53.44. Under any scenario, the per claim amount is a significant increase from the $39

payments contemplated by the prior settlement and commensurate with the estimate payments

provided in the notice. The increased payments are due in part to Ocwen contributing an

additional $4,000,000, in part to Class Counsel’s reduction of their fee request by $500,000, and

in part to the settlement administrator’s finalization of claim processing. In addition, Ocwen has

implemented the injunctive relief contemplated by the prior settlement and expanded it to its

servicing of any mortgage loan migrated from its REALServicing system to BlackKnight/MSP

following Ocwen Financial Corporation’s acquisition of PHH Corporation. And the settlement

has carved the Banks out of the release.

       Plaintiffs submit that the enhanced relief provided by the Amended Settlement is

adequate in light of the cost, risks and delay of continued litigation, and that the settlement

should be finally approved, as amended. As the Court recognized in denying final approval of

the prior settlement, Plaintiffs faced some significant challenges in proving their claims and



                                                 -7-
 Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 12 of 22 PageID #:8000



reaching a judgment in their favor. As the Court noted, “[t]he main issues in the plaintiffs’ case

against Ocwen involved whether it used an automatic dialing system to make the calls as

required by the statute and, if so, whether it had the callers’ prior express consent. Each of these

issues posed a significant risk to the success of the claims of the class.” Dkt. No. 334 at 10.

Procedural challenges remain as well. Plaintiffs would have to prevail on their motion for class

certification—and a subsequent Rule 23(f) appeal—and defeat summary judgment before even

getting to trial and the inevitable appeal. Id. at 8-9. As the Court noted, “a good deal of work

remained to bring the case to a conclusion.” Id. at 8. “Settlement allows the class to avoid the

inherent risk, complexity, time, and cost associated with continued litigation.” Schulte v. Fifth

Third Bank, 805 F. Supp. 2d 560, 586 (N.D. Ill. 2011).

       Every settlement necessarily represents a discount on the plaintiff’s potential recovery at

trial. See In re Mexico Money Transfer Litig., 164 F. Supp. 2d 1002, 1014 (N.D. Ill. 2000)

(courts must recognize that the “essence of settlement is compromise” and will not represent a

total win for either side (quoting Isby v. Bayh, 75 F.3d 1191, 1200 (7th Cir. 1996))); Van Lith v.

iHeartMedia + Entm’t, Inc., No. 1:16-CV-00066-SKO, 2017 WL 4340337, at *12 (E.D. Cal.

Sept. 29, 2017) (“It is well-settled law that a proposed settlement may be acceptable even though

it amounts to only a fraction of the potential recovery that might be available to the class

members at trial.” (citations omitted)). In this case, the risk of no recovery at all, combined with

the cost and delay of continued litigation, supports approval of the settlement. See Hale v. State

Farm Mut. Auto. Ins. Co., No. 12-0660-DRH, 2018 WL 6606079, at *5 (S.D. Ill. Dec. 16, 2018)

(approving settlement as adequate given the costs, risks, and delay of continued litigation under

amended Rule 23(e)(2)).




                                                -8-
 Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 13 of 22 PageID #:8001



       The range of awards, between $53.44 and $70.41 per claim, also compares favorably to

other TCPA settlements in the Seventh Circuit and elsewhere. See, e.g., Gehrich, 316 F.R.D. at

228 ($52.50); Capital One, 80 F. Supp. 3d at 789 ($39.66); Kolinek v. Walgreen Co., 311 F.R.D.

483, 493-94 (N.D. Ill. 2015) ($30); Estrada v. iYogi, Inc., No. 2:13–01989 WBS CKD, 2015 WL

5895942, at *7 (E.D. Cal. Oct. 6, 2015) ($40); Rose v. Bank of Am. Corp., Nos. 11 C 2390 & 12

C 4009, 2014 WL 4273358, at *10–11 (N.D. Cal. Aug. 29, 2014) (between $20 and $40); Adams

v. AllianceOne Receivables Mgmt., Inc., No. 3:08-cv-00248-JAH-WVG, Dkt. No. 137 (S.D. Cal.

Sept. 28, 2012) ($40); Garret, et al. v. Sharps Compliance, Inc., No. 1:10-cv-04030, Dkt. No. 65

(N.D. Ill. Feb. 23, 2012) (between $27.42 and $28.51).

       2.      The Amended Settlement treats Settlement Class Members equitably.

       The Amended Settlement, like the original Settlement, treats class members equitably.

After payment of Court-approved administration costs, attorneys’ fees and litigation costs, and

service awards, the settlement fund will be divided equally among the Settlement Class Members

who filed valid claims. Each Settlement Class Member was able to submit claims for calls made

on up to three cell phone numbers, one claim per cell number. Dkt. No. 252-1 at § 4.5.4. This

approach recognizes Settlement Class Members may have experienced invasive calls on more

than one cell phone number. The Amended Settlement also does not change the terms of

distribution. Settlement Class Members had to complete a relatively simple claim form with

basic questions about class membership. The procedure was claimant-friendly, efficient, cost-

effective, proportional and reasonable for this case. Moreover, no Settlement Class Member has

objected to the plan for distributing the settlement fund and, as the Court already found, “the

ability to opt out (plus an explanation in the class notice of what a class member who opts out

might expect) has provided a safety valve that permitted class members on the higher end of the




                                                -9-
    Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 14 of 22 PageID #:8002



call spectrum to, in effect, vote with their feet and pursue the possibility of a greater award.” Dkt.

No. 334 at 8.

        3.      Plaintiffs and Class Counsel have adequately represented the Settlement Class,
                had litigated sufficiently to understand the case, and support the Amended
                Settlement.

        The Court has already recognized that “[t]he named plaintiffs participated in the case

diligently” and “class counsel fought hard throughout the litigation and pursued mediation when

it appeared to be an advisable and feasible alternative.” Dkt. No. 334 at 7.3 The Court also

concluded that “Plaintiffs’ had, in the Court’s view, sufficient information via discovery and

otherwise to enable them to evaluate the merits of the case against Ocwen.” Id. at 9. Plaintiffs

and Class Counsel have demonstrated their continuing commitment to the Settlement Class by

returning to the negotiating table and obtaining an additional $4.5 million to distribute to

Settlement Class Members who filed timely claims as well as expanded injunctive relief. Class

Counsel, who have substantial experience in litigating and settling TCPA cases like this one,

strongly support the Amended Settlement. Courts are “entitled to rely heavily on the opinion of

competent counsel” when evaluating a class action settlement. Gautreaux v. Pierce, 690 F.2d

616, 634 (7th Cir. 1982) (citation omitted); see also Isby, 75 F.3d at 1200 (“the district court was

entitled to give consideration to the opinion of competent counsel that the settlement was fair,

reasonable and adequate”).

        4.      The Amended Settlement is the result of arm’s-length negotiations.

        The Court found that the prior settlement “was negotiated entirely at arm’s length.” Dkt.

No. 334 at 7. The Court noted the parties’ mediations with “three separate and independent

mediators” and the absence of red flags of collusion, such as reversionary provisions, “side

3
 The Court noted “concerns regarding certain aspects of the conduct of Mark Ankcorn” but
concluded that “there is no basis to believe that Ankcorn’s conduct impacted the representation
of the class by counsel unaffiliated with his law firm.” Dkt. No. 334 at 7.


                                                - 10 -
    Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 15 of 22 PageID #:8003



deals,” or a clear sailing clause regarding attorneys’ fees. Id. at 7-8. The Amended Settlement

resulted from the same arm’s length process—a grueling mediation with the Honorable Morton

Denlow (Ret.) that resulted in Ocwen paying $4,000,000 more, and Plaintiffs’ counsel requesting

less, all for the benefit of the class. Moreover, the settlement includes no “red flag” terms. Terrell

Decl., Exh. 1. There are no additional agreements to disclose under Rule 23(e)(2)(C)(iv).

        5.     The reduced attorneys’ fee request supports approval.

        In common fund cases, the goal is to award counsel “the market price for legal services,

in light of the risk of nonpayment and the normal rate of compensation in the market at the

time.” In re Synthroid Mktg. Litig., 264 F.3d 712, 718 (7th Cir. 2001) (“Synthroid I”) (collecting

cases). Another district court in this circuit analyzed TCPA class action settlements and

concluded, based on the Seventh Circuit’s fee schedule in In re Synthroid Marketing Litigation,

325 F.3d 974 (7th Cir. 2003) (“Synthroid II”), that the market rate for a typical TCPA class

action is based on a downward sliding scale. Capital One, 80 F. Supp. 3d at 795. Before

accounting for risk factors, the Capital One scale is composed of four tiers, awarding 30% of the

first $10 million recovered, 25% of the next $10 million, 20% of any recovery from $20 million

to $45 million, and 15% of any recovery above $45 million. Id. at 804. Courts may adjust these

percentages upward based on risk. Id. at 805-07.

        Although the Capital One sliding scale supports a fee request of $5,800,000,4 Class

Counsel have heeded the Court’s concern regarding their requested fees and seek $4,789,250—

which is $1 million less than would be awarded using the Capital One formula, and $500,000

less than their initial request of $5,289,250. The requested award amounts to 22% of the $21.5

million settlement fund, and 24% of the net settlement fund after subtracting administrative costs
4
  $5,800,000 = $3,000,000 (30% of $10,000,000) + $2,500,000 (25% of $10,000,000) +
$300,000 (20% of $1,500,000). This figure does not factor in the risk Class Counsel assumed or
the injunctive relief obtained.


                                                 - 11 -
 Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 16 of 22 PageID #:8004



and incentive awards. The latter percentage reflects “the ratio of (1) the fee to (2) the fee plus

what the class members received,” which is well within the range the Seventh Circuit found to be

acceptable. Redman v. RadioShack Corp., 768 F.3d 622, 630 (7th Cir. 2014); see also Pearson v.

NBTY, Inc., 772 F.3d 778, 782 (7th Cir. 2014) (in consumer class actions, “attorneys’ fees

awarded to class counsel should not exceed a third or at most a half of the total amount of money

going to class members and their counsel”).

       6.      Settlement Class Members’ response supports approval.

       The Court recognized that “[t]here was little opposition to the [prior] settlement”—only

three objections—which “is a factor favoring approval.” Dkt. No. 334 at 9. The Amended

Settlement improves on the terms of the prior settlement. Settlement Class Members’ response

provides “strong circumstantial evidence in favor of the settlement.” Mexico Money Transfer.,

164 F. Supp. 2d at 1021 (noting that “99.9% of class members have neither opted out nor filed

objections”); see also Isby, 75 F.3d at 1200 (affirming final approval where 13% of the class

submitted written objections); In re Sw. Airlines Voucher Litig., No. 11 C 8176, 2013 WL

4510197, at *7 (N.D. Ill. Aug. 26, 2013) (“low level of opposition” amounting to 0.01% of class

“supports the reasonableness of the settlement”), aff’d, 799 F.3d 701 (7th Cir. 2015).

       The Court should overrule the three objections, which contend that the settlement amount

should have been higher and the request for attorneys’ fees lower (see Dkt. Nos. 308, 309, 310),

because they do not “cast doubt upon the settlement’s fairness, reasonableness, or adequacy.”

Am. Int’l Grp., Inc. v. ACE INA Holdings, Inc., No. 07 CV 2898, 2012 WL 651727, at *11 (N.D.

Ill. Feb. 28, 2012); see also Freeman v. Berge, 68 F. App’x 738, 743 (7th Cir. 2003) (affirming

final approval of settlement and recognizing that objections must have merit to be considered).

Indeed, the increased settlement fund and reduced fee request address the objectors’ concerns.




                                                - 12 -
 Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 17 of 22 PageID #:8005



B.     The Settlement Class should be finally certified.

       In granting preliminary approval of the prior settlement, the Court conditionally granted

class certification for settlement purposes only. Dkt. No. 266 at ¶¶ 5-6. The Settlement Class

definition has not changed and final certification is appropriate for the reasons discussed in

Plaintiffs’ preliminary approval briefing and the Court’s preliminary approval order. See id.; Dkt.

No. 252 at 19-21. The Settlement Class should be finally certified.

C.     No additional notice is necessary.

       The Court previously found that “notice was sent in a reasonable manner to all class

members and that, indeed, class members received the best notice practicable.” Dkt. No. 334 at

6-7. Ninety-five percent of the Settlement Class received notice by U.S. mail and email, and the

claim rate was higher than usual in TCPA settlements. Id. Because the Amended Settlement

provides additional, valuable benefits to the Settlement Class and does nothing to hinder

claimants’ legal rights, no additional notice is necessary. New notice is only required when there

are “[m]aterial alterations” to a class settlement. Pearson v. Target Corp., 893 F.3d 980, 986 (7th

Cir. 2018); see also In re Baby Prods. Antitrust Litig., 708 F.3d 163, 175 n.10 (3d Cir. 2013).

Amendments that benefit the class do not require supplemental notice. See, e.g., In re Anthem,

Inc. Data Breach Litig., 327 F.R.D. 299, 330 (N.D. Cal. 2018) (“When the modification makes

the settlement less desirable, notice may be required because courts cannot be sure whether more

class members would have chosen to object to the settlement or exclude themselves from the

class. … [W]hen the modification makes the settlement more valuable to the class, courts have

routinely concluded that notice is unnecessary.”). That is particularly true here, where the

monetary improvements to the deal merely brought per claimant recovery closer to the amount

stated in the notice. And “[w]here no legal right would be hindered,” additional notice is not

required because there is no risk that an absent class member will be legally harmed by approval


                                               - 13 -
 Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 18 of 22 PageID #:8006



of the modification. Keepseagle v. Vilsack, 102 F. Supp. 3d 306, 314 (D.D.C. 2015) (finding no

additional notice required where an amendment provided “additional benefits”).

       For the same reasons, there is no need for new CAFA notice. See Smith v. Levine

Leichtman, No. 10-cv-00010-JSW, 2014 WL 12641575, at *4 (N.D. Cal. Mar. 26, 2014). Not

only does Rule 23 not expressly require CAFA notice for amendments to settlements, state and

federal officials already received CAFA notice and did not object or otherwise comment on the

settlement, class members were provided the opportunity to opt out or object, and the

amendments, while significant, were more favorable to the class members. Id.

                                      IV. CONCLUSION

       Plaintiffs request that the Court: (1) approve the Amended Settlement as fair, reasonable,

and adequate; (2) determine payment to the claims administrator, not to exceed $1,600,000; (3)

award Class Counsel $4,789,250 in attorneys’ fees, which is equal to 24% of the net settlement

fund; (4) order payment of Class Counsel’s expenses in the amount of $96,380; (5) order

payment of incentive awards in the amount of $25,000 to each of the three Plaintiffs; (6) overrule

the three objections; and (7) finally certify the Settlement Class.


       RESPECTFULLY SUBMITTED AND DATED this 14th day of January, 2019.

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                                               By: /s/ Beth E. Terrell, Admitted Pro Hac Vice

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                                                - 14 -
Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 19 of 22 PageID #:8007



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                                     - 15 -
 Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 20 of 22 PageID #:8008



                                  CERTIFICATE OF SERVICE

       I, Beth E. Terrell, hereby certify that on January 14, 2019, I electronically filed the

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                                               - 16 -
Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 21 of 22 PageID #:8009



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                                         - 17 -
Case: 1:14-cv-08461 Document #: 350 Filed: 01/14/19 Page 22 of 22 PageID #:8010



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                                     - 18 -
